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                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )   Case No. 2:18-cr-00352-ECM-SMD
                                                     )
TIMOTHY DEAN PETTIWAY                                )

                         NOTICE OF INTENT TO CHANGE PLEA

       COMES NOW, Timothy Pettiway by and through his attorney of record, Preston L.

Presley and notifies this Honorable Court of his intent to change his plea from not guilty to

guilty. Mr. Pettiway would request that he be allowed to enter his plea before his District Court

Judge the Hon. Elizabeth Marks.

       Respectfully Submitted on this the 1st day of February, 2019.

                                                                     /s/ Preston L. Presley__
                                                                     Preston L. Presley

OF COUNSEL:

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                                CERTIFICATE OF SERVICE

       I certify that I have served a copy of the foregoing document upon the United States
Attorney by e-filing a copy of the same on this the 1st day of February, 2019.


                                                             /s/ Preston L. Presley_________
                                                             Preston L. Presley (PRE030)
